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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                  7      SCOTT JOHNSON,
                                                                                        Case No. 20-cv-06096-PJH
                                  8                    Plaintiff,
                                                                                        JUDGMENT
                                  9             v.

                                  10     SHIT-FONG LO,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




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                                  14          The issues having been duly heard and the court having granted plaintiff’s motion

                                  15   for default judgment,

                                  16          it is Ordered and Adjudged

                                  17          that judgment is hereby entered in favor of plaintiff and against defendant.

                                  18          The court ORDERS judgment for plaintiff in the amount of $6,311.50 (consisting of

                                  19   $4,000 in statutory damages, $1,466.50 in attorneys’ fees, and $845 in costs). The court

                                  20   ORDERS that defendant satisfy payment of this judgment within 90 days unless the

                                  21   parties stipulate to another deadline. Further, the court ORDERS defendant to provide a

                                  22   wheelchair-accessible parking space that is in compliance with the Americans with

                                  23   Disabilities Act Accessibility Guidelines at Lucretia Plaza, located at 1130 Lucretia

                                  24   Avenue, San Jose, California, within 180 days.

                                  25          IT IS SO ORDERED.

                                  26   Dated: November 10, 2021

                                  27                                               /s/ Phyllis J. Hamilton__________
                                                                                   PHYLLIS J. HAMILTON
                                  28                                               United States District Judge
